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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Rondevoo Technologies, LLC
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−06212
                                                          Honorable John J. Tharp Jr.
ZTE (USA) Inc.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 18, 2018:


        MINUTE entry before the Honorable John J. Tharp, Jr:Upon the parties' agreed
request, the initial status conference is reset for 11/6/18 at 9:00 a.m. The initial status
report is due by 10/30/18. Mailed notice(air, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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